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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA

IN THE MATTER OF THE USE OF A
CELL-SITE SIMULATOR TO                      Case No. MJ-37-GF-JTJ
LOCATE THE CELLULAR DEVICE
ASSIGNED CALL NUMBER (406)                  Filed Under Seal
794-8140 (HEX ESN :80C43F68)

                      AFFIDAVIT IN SUPPORT OF
               AN APPLICATION FOR A SEARCH WARRANT

      I, Morgan Kasuske, being first duly sworn, hereby depose and state as

follows:


               INTRODUCTION AND AGENT BACKGROUND


      1.      I make this affidavit in support of an application for a search wan-ant

under Federal Rule of Criminal Procedure 41 to authorize law enforcement to

employ an electronic investigative technique, which is described in Attachment B,

to determine the location of the cellular device assigned call number (406) 794­

8140, (the "Target Cellular Device"), which is described in Attachment A.


      2.      I am a Deputy United States Marshal with the United States Marshal

Service and have been since July 2010. I have a total of 5 years of experience as a

federal law enforcement officer, and I have received over 600 hours of criminal

investigation training. I hold a certificate of completion from the Criminal

Investigator Training Program, which I completed at the Federal Law Enforcement
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Training Program in Glynco, Georgia. I have testified before a Grand Jury on

many occasions to secure charging documents.

      3.      The facts in this affidavit come from my personal observations, my

training and experience, and information obtained from other agents and witnesses.

This affidavit is intended to show merely that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.


      4.      One purpose of applying for this warrant is to determine with

precision the Target Cellular Device's location. However, there is reason to

believe the Target Cellular Device is currently located somewhere within the

District of Montana because law enforcement placed the phone in the Missoula,

Montana, area on August 5,2016. On August 8, 2016 law enforcement placed the

phone back in the Great Falls, MT area. The Target Cellular Device's owner,

JOSIE MARIE MAFFITT, was in the areas of Great Falls, Montana, and Vaughn,

Montana, until approximately August 2, 2016, when she traveled to Missoula. The

Target Cellular Device's owner is known to spend most of her time in the Great

Falls area and was last seen in Great Falls on August 2,2016. However, the Target

Cellular Device's owner is known to have connections on the western side of

Montana, to include the Missoula, Polson and Kalispell areas. Pursuant to Rule

41 (b)(2), law enforcement may locate the Target Cellular Device outside the

district provided the device is within the district when the warrant is issued.
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       5.      Based on the facts set forth in this affidavit, there is probable cause to

believe that violations of 18 U.S.C. § 3146(a)(1), failure to appear, have been

committed, are being committed, and will be committed by JOSIE MARIE

MAFFITT. There is also probable cause to believe that the location of the Target

Cellular Device will constitute evidence of those criminal violations, including

leading to the identification of individuals who are engaged in the commission of

these offenses and identifYing locations where the target engages in criminal

activity.


       6.      Because collecting the information authorized by this warrant may fall

within the statutory definitions of a "pen register" or a "trap and trace device," see

18 U.S.C. § 3127(3) & (4), this warrant is designed to comply with the Pen

Register Statute as well as Rule 41. See 18 U.S.C. §§ 3121-3127. This warrant

therefore includes all the information required to be included in a pen register

order. See 18 U.S.C. § 3123(b)(1).


                                 PROBABLE CAUSE


       7.      JOSIE MARIE MAFFITT was known to be using Target Cellular

Device number (406) 591-6099. However, while still keeping the original account

active, she switched the aforementioned number to (406) 591-7801 on July 22,

2016. On August 5, 2016, MAFFITT again changed numbers. She is currently
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using number 406-794-8140. The original number was provided to Deputy US

Marshal (DUSM) Kasuske during an interview with a confidential source. The

source provided additional information on MAFFITT that was determined to be

accurate, including that MAFFITT was planning on fleeing the Great Falls area

shortly before this happened. However, the information did not lead to

MAFFITT's arrest. The Target Cellular Device is known to be used only by

MAFFITT. DUSM Kasuske has followed all leads pertaining to the arrest of

MAFFITT, but traditional methods of locating her have proven unsuccessful.

MAFFITT has continually moved around since fleeing Federal supervision and

recently fled to the Missoula, MT area. On August 8, 2016, Kasuske learned that

MAFFITT had returned to the Great Falls area. MAFFITT is aware there is a

Federal warrant out for her arrest and actively evading capture.


      8.      On June 29, 2016, a federal warrant for a violation of pre-trial release

was issued by United States Magistrate Judge John Johnston in the District of

Montana for JOSIE MARIE MAFFITT. MAFFITT is on release for a June 15,

2016, federal conviction for a violation of Title 21 U.S.C. 841(a)(1)-possession

with intent to distribute methamphetamine. MAFFITT is currently awaiting

sentencing on the aforementioned conviction. MAFFITT fled after being released

on bond, and being required to follow conditions of her release, including

contacting the United States Probation Office. According to the United States
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Probation Office (USPO), MAFFITI has not been residing at her required address

and her whereabouts are still unknown at this time.

      9.       On or about July 20, 2016, Criminal Investigator Deputy United

States Marshal (CIDUSM) Morgan Kasuske received information from a credible

source who confirmed that MAFFITT was using a cellular phone with phone

number (406) 591-6099. This number was then switched to 406-591-7801 using

the same account as the original number. On August 5,2016, the number was

again changed and is currently 406-794-8140. The source indicated that the source

last spoke to MAFFITT on the phone using that number on or about July 18,2016.

The source had text messages in the source's phone from MAFFITT. The source

also spoke to her later in the day after providing Deputy Kasuske with the phone

number. MAFFITT would not reveal her location to the source. Deputy Kasuske

followed up on information the source provided and determined it was accurate.

However, Deputy Kasuske was unable to locate MAFFITT with the provided

information.

      10.      Interviews with friends and family members have resulted in negative

results in regards to the whereabouts ofMAFFITT. It is understood that

MAFFITT knows that law enforcement is searching for her and she has continued

to evade them. MAFFITT has a sister who lives in the Denver, CO area and she

has traveled there in the past while evading law enforcement. Two different
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sources have indicated that MAFFITT was trying to get to Denver to "hide out." A

query of the target number, 406-591-6099, was conducted and the phone carrier

was identified as Verizon Wireless. The new numbers since then also belong to

Verizon Wireless.

                           MANNER OF EXECUTION


       11.   In my training and experience, I have learned that cellular phones and

other cellular devices communicate wirelessly across a network of cellular

infrastructure, including towers that route and connect individual communications.

When sending or receiving a communication, a cellular device broadcasts certain

signals to the cellular tower that is routing its communication. These signals

include a cellular device's unique identifiers.


       12.   To facilitate execution of this warrant, law enforcement may use an

investigative device or devices capable of broadcasting signals that will be

received by the Target Cellular Device or receiving signals from nearby cellular

devices, including the Target Cellular Device. Such a device may function in some

respects like a cellular tower, except that it will not be connected to the cellular

network and cannot be used by a cell phone to communicate with others. The

device may send a signal to the Target Cellular Device and thereby prompt it to

send signals that include the unique identifier of the device. Law enforcement may

monitor the signals broadcast by the Target Cellular Device and use that
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infonnation to detennine the Target Cellular Device's location, even if it is located

inside a house, apartment, or other building.


      13.    The investigative device may interrupt cellular service of phones or

other cellular devices within its immediate vicinity. Any service disruption to non­

target devices will be brief and temporary, and all operations will attempt to limit

the interference with such devices. In order to connect with the Target Cellular

Device, the device may briefly exchange signals with all phones or other cellular

devices in its vicinity. These signals may include cell phone identifiers. The

device will not complete a connection with cellular devices detennined not to be

the Target Cellular Device, and law enforcement will limit collection of

infonnation from devices other than the Target Cellular Device. To the extent that

any infonnation from a cellular device other than the Target Cellular Device is

collected by the law enforcement device, law enforcement will delete that

information, and law enforcement will make no investigative use of it absent

further order of the court, other than distinguishing the Target Cellular Device

from all other cellular devices.
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                         AUTHORIZATION REQUEST


      14.    Based on the foregoing, I request that the Court issue the proposed

search warrant, pursuant to Federal Rule of Criminal Procedure 41. The proposed

warrant also will function as a pen register order under 18 U.S.C. § 3123.


      15.    I further request, pursuant to 18 U.S.C. § 31 03a(b) and Federal Rule

of Criminal Procedure 41(f)(3), that the Court authorize the officer executing the

warrant to delay notice until 30 days from the end of the period of authorized

surveillance. This delay is justified because there is reasonable cause to believe

that providing immediate notification of the warrant may have an adverse result, as

defined in 18 U.S.C. § 2705. Providing immediate notice to the subscriber or user

of the Target Cellular Device would seriously jeopardize the ongoing investigation,

as such a disclosure would give that person an opportunity to destroy evidence,

change patterns of behavior, notify confederates, and [continue to] flee from

prosecution. See 18 U.S.C. § 3103a(b)(I). There is reasonable necessity for the

use of the technique described above, for the reasons set forth above. See 18

U.S.C. § 3103a(b)(2).


      16.    I further request that the Court authorize execution of the warrant at

any time of day or night, owing to the potential need to locate the Target Cellular

Device outside of daytime hours.
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      17.    I further request that the Court order that all papers in support of this

application, including the affidavit and search warrant, be sealed until further order

of the Court. These documents discuss an ongoing criminal investigation that is

neither public nor known to all of the targets of the investigation. Accordingly,

there is good cause to seal these documents because their premature disclosure

may seriously jeopardize that investigation.


      18.    A search warrant may not be legally necessary to compel the

investigative technique described herein. Nevertheless, I hereby submit this

warrant application out of an abundance of caution.


                                            Respectfully submitted,
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                                            Morgan Kasuske
                                            Deputy United States Marshal
                                            United States Marshal Service


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    ~ UNITED STATES MAGISTRATE JUDGE
